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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


MCKESSON MEDICAL-SURGICAL                        Case No. 24-cv-00172-MN
MINNESOTA SUPPLY INC., a Minnesota
corporation,
              Plaintiff,
                                                 FIRST AMENDED COMPLAINT
v.
THRIVE SKILLED PEDIATRIC CARE,
LLC, a Delaware limited liability company,
              Defendant.


                               FIRST AMENDED COMPLAINT

       Plaintiff McKesson Medical-Surgical Minnesota Supply Inc. (“Plaintiff” or

“McKesson”), by its undersigned counsel, as and for its First Amended Complaint (the

“Complaint”), against Defendant Thrive Skilled Pediatric Case, LLC (“Defendant” or

“Thrive”), alleges and states as follows:

                                        PARTIES

       1.     McKesson is a corporation duly organized and existing under the laws of the

State of Minnesota with a principal place of business at 9954 Mayland Drive, Suite 4000,

Richmond, Virginia 23233.

       2.     McKesson is informed and believes, and based thereon alleges, that Thrive

was, at all times relevant herein, and is a Delaware limited liability company, with a

principal place of business at 101 Edgewater Drive, Suite 110, Wakefield, Massachusetts

01880. Upon information and belief, each of Thrive’s members are citizens of

Massachusetts. Thrive can be served through its registered agent for service, The


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Corporation Trust Company, Corporation Trust Center, 1209 Orange St., Wilmington, DE

19801; or wherever it may be found.

                              JURISDICTION AND VENUE

       3.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332 because this is a civil action between citizens of different states and the

matter in controversy exceeds the sum value of $75,000, exclusive of interest and costs.

       4.     This Court has personal jurisdiction over Defendant Thrive because Thrive

has purposefully availed itself of the laws of this State and this Judicial District. Defendant

Thrive is organized and existing under the laws of Delaware.

       5.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 because

Thrive is subject to personal jurisdiction in this District.

                               GENERAL ALLEGATIONS

 A.    Thrive’s Entry Into the Product Supply Agreement With McKesson

       6.     McKesson is a leading wholesale distributor of medical-surgical products

and equipment and the provision of related goods and services.

       7.     McKesson is informed and believes, and based thereon alleges, that Thrive

both directly and through its locations, including SoftTouch Medical, LLC, Thrive DME-

TX, LLC, and The Pediatric Connection, Inc. (the “Locations”), provide pediatric in-home

care to patients including providing medical-surgical products, equipment, and nutrition.

       8.     McKesson and Thrive have done business for several years preceding the

specific transactions at issue in this suit following a common course of conduct. Under this

business arrangement, McKesson agreed to sell or rent and deliver to Thrive’s Locations,

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or directly to the homes of its patients, and Thrive directly and/or through its Locations

agreed to purchase and accept from McKesson, medical-surgical products and equipment,

nutritionals and general merchandise. These transactions were documented through

purchase orders issued by Thrive directly and/or through its Locations and invoices issued

by McKesson.

       9.     When it needed product from McKesson, Thrive directly or through its

Locations submitted purchase orders to McKesson detailing the type of goods and

quantities it required. Such purchase orders were issued by Thrive directly or through its

Locations for each of the transactions at issue in this case. McKesson fulfilled the requests

by delivering the goods to the Locations or directly to the homes of the Locations’ patients

along with providing invoices requesting payment of the goods.

       10.    On or about June 1, 2018, McKesson and Thrive, for itself and on behalf of

its Locations, entered into a Product Supply Agreement wherein Thrive appointed

McKesson as its prime distributor for itself and for the Locations (the “2018 PSA”).

       11.    On or about July 1, 2020, McKesson and Thrive, for itself and on behalf of

its Locations, entered into a new Product Supply Agreement wherein Thrive again

appointed McKesson as its prime distributor for itself and for the Locations (the “Product

Supply Agreement”). The Product Supply Agreement contains confidential and proprietary

information so that in the Product Supply Agreement, Thrive agreed to keep the terms of




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the Product Supply Agreement confidential. 1 The Product Supply Agreement replaced the

then existing 2018 PSA.

        12.   By virtue of the Product Supply Agreement, McKesson was the first choice

supplier for the purchase of all medical-surgical products and equipment, nutritionals and

general merchandise that Thrive and its Locations would normally purchase through

medical-surgical distributors.

        13.   Under the Product Supply Agreement, products were delivered to the

Locations or directly to the homes of the patients for whom the Locations were providing

home care services and Thrive was to pay for such product within ninety (90) days from

the date of invoice. Further, Thrive agreed to unconditionally guarantee the performance

of all obligations of any of the Locations identified in the Product Supply Agreement and

any additional locations later added with McKesson’s consent.

        14.   Thrive agreed to be bound by the Standard Terms and Conditions which

included paying an interest charge of one and one-half percent (1.5%) per month on all

past due balances.

        15.   Moreover, Thrive agreed to pay McKesson for all reasonable attorneys’

fees and expenses or costs that McKesson incurs for enforcement of its rights to collect

amounts owed by Thrive.

        16.   Furthermore, Thrive agreed that the Product Supply Agreement would be

governed by and construed in accordance with the laws of the State of Minnesota.


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  Due to the confidential information in the Product Supply Agreement a copy is not attached to
the Complaint however a copy will be made available to Defendant upon its request.

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    B.   Thrive Breached The Product Supply Agreement By Failing To Pay For The

         Products.

         17.   Between June 2021 to September 2023, McKesson and Thrive either directly

or through the Locations entered into a series of agreements evidenced by written invoices

(each an “Invoice”; collectively, “Invoices”), whereby McKesson agreed to sell and Thrive

directly and/or through the Locations agreed to purchase medical-surgical products and

equipment, nutritionals and general merchandise or the rental of medical equipment

(collectively, the “Products”). A true and correct copy of redacted exemplar Invoices are

attached hereto as Exhibit 1.2 A statement of Thrive’s account evidencing the Invoice

numbers, dates, amounts due, due dates and services charges (“Statement of Account”) is

not attached due to its large size but McKesson agrees to provide a copy of the Statement

of Account to Defendant directly on request.

         18.   Between June 2021 to September 2023, McKesson shipped the Products to

the Locations or directly to patients’ homes pursuant to the Invoices, which were received

and accepted in good condition, without objection, and without timely rejection or

revocation of acceptance. The Invoices, along with the Product Supply Agreement, are

hereinafter collectively referred as the “Invoice Agreements.”

         19.   In 2022, Thrive began to struggle with making timely payments to McKesson

on the Invoices. McKesson began having periodic calls with Thrive’s executive

management, namely Quinby Squire (CFO) and Esther Tinklenberg (COO), as well as


2
 Confidential pricing information has been redacted from the exemplar Invoices. McKesson
agrees to provide unredacted copies of the Invoices to Defendant directly on request.

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Thrive’s treasury and account payable representatives about Thrive’s ongoing delinquency.

Thrive requested some grace while it did some right sizing of its operations in an effort to

increase its profitability. McKesson endeavored to be a good partner to Thrive to help it

hopefully work through its challenges by allowing Thrive time to bring its account current.

Thrive represented it would be back on track in October 2023, which was extended to

November 2023 and then to January 2024. While Thrive acknowledged the validity of the

debt and the amount owed and agreed to numerous plans for repayment it continued to

falter on actually executing on the plans.

       20.    By February 2023, Thrive’s open balance had grown to over $6.1 million,

including a past due balance of over $3.5 million. McKesson reached out to Thrive

explaining that Thrive would need to work to decrease its past due balance or McKesson

would need to place a shipment hold on the Thrive accounts on March 9, 2023.

       21.    Thrive advised McKesson that it would reach out to its managing director at

Summit Partners, L.P. (“Summit”), which is the private equity investment company behind

Thrive, to discuss the situation and seek additional financing from Summit so that it could

make the requested payment to McKesson. Thrive also requested more time before any

shipping hold would be put in place by McKesson. McKesson advised Thrive that if it

wanted McKesson to hold off on placing a shipping hold that it would need to receive

assurances from Summit that the Thrive accounts would be paid.

       22.    On March 8, 2023, Melinda Phillips, Thrive’s President and CEO, emailed

McKesson stating that Thrive had been working with McKesson’s collections department

on a plan to reduce Thrive’s overall balance with McKesson but that Thrive was struggling

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to do so as it had “a few large payors with large outstanding balances who are impacting

[Thrive’s] ability to pay down this McKesson balance more quickly.” Ms. Phillips advised

that a new CFO would be starting at Thrive on March 20 and that she needed to work with

the CFO to develop a new plan to pay McKesson. She further stated that if McKesson

insisted on Summit’s involvement that Summit’s managing director—who also sits on

Thrive’s board—was willing to get on a call with the McKesson CEO to discuss.

       23.    Shortly thereafter, Ross D. Stern, who upon information and belief is both a

manager (per Thrive’s Annual Reports filed with the Secretary of the Commonwealth of

Massachusetts) and board member of Thrive and also a managing director of Summit,

reached out to William Station, McKesson’s then Chief Financial Officer, and others at

McKesson to discuss the situation. In Mr. Stern’s March 10, 2023 email communications

with McKesson, Mr. Stern stated that Summit was “working through an A/P issue with our

portfolio company, Thrive, and the Med-Surg team at McKesson,” he wanted to “make

sure that we resolve the situation at Thrive as soon as possible,” he assured that “Summit

has a deep commitment to Thrive,” that he wanted to chat with Mr. Station to “find a

resolution,” that “the Summit relationship with McKesson is an important one,” and “to

please trust that this situation is getting an appropriate level of attention internally.”

       24.    After speaking with Mr. Stern, Mr. Station understood that Summit and

Thrive were in agreement with regard to the amounts owed to McKesson and that Summit

was going to ensure that the past due amounts Thrive owed to McKesson would be paid.

       25.    Mr. Stern followed up his call with Mr. Station by sending an email again

confirming “the situation is getting the appropriate level of attention from Summit.

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Thrive’s new CEO is starting next week, and so appreciate your flexibility on the timeline.

Let us work on a firm plan once he is in seat and our teams can align on something that is

mutually agreeable. I also passed along your feedback re: the $3.5M balance and the team

understands.”

       26.      In reliance on Mr. Stern’s representations about Summit’s commitment to

resolving the matter with Thrive developing a plan with Summit’s support to aggressively

pay down its outstanding balance, McKesson held off on issuing a shipping hold on the

Thrive accounts and continued to ship goods to the Thrive Locations.

       27.      Six weeks passed and McKesson still did not have a proposal from Thrive

on how it was going to bring its accounts current. On May 17, 2023, Chris Robbins, the

new CFO at Thrive, told McKesson that he would provide McKesson with a plan the

following week after he meets with Mr. Stern however, no agreeable plan was presented

to McKesson. In July 2023, Mr. Stern again stated by email that McKesson had his

“commitment that we will resolve this matter” but payment was not received.

       28.      Despite Mr. Stern’s, Summit’s and Thrive’s acknowledgement and

agreement that Thrive owed the amounts to McKesson, Mr. Stern’s representation that the

matters involving the Thrive outstanding balance would be resolved, and McKesson’s

reliance on those statements to keep shipping goods to Thrive, the outstanding balance

remains unpaid.

       29.      Thrive failed to pay the Invoices when due and is in breach of the terms of

the Invoice Agreements. As a proximate result of Thrive’s breach, McKesson has been

damaged in an amount not less than $5,778,891.25.

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       30.    Although McKesson has demanded payment, Thrive has failed and

refused—and continues to fail and to refuse—to pay McKesson the amount due and owing

on the Invoices.

       31.    There is now due, owing and unpaid to McKesson from Thrive the sum of

$5,778,891.25, together with interest from the due date of each Invoice and other fees and

charges pursuant to the terms of the Invoice Agreements, according to proof at time of trial

or entry of judgment.

 C.    Conditions Precedent And Attorneys’ Fees And Costs.

       32.    All conditions precedent to the initiation of this lawsuit have occurred, been

performed, or have been waived or excused.

       33.    McKesson performed all of the promises, conditions and covenants it agreed

to perform pursuant to the terms of the Invoice Agreements, except for those promises,

conditions and covenants excused by the acts and omissions of Defendant.

       34.    The Product Supply Agreement provides that Defendant agrees to pay all

reasonable attorney fees and expenses or costs incurred by McKesson in enforcing its rights

to collect amounts due therefrom. McKesson has retained the law firm of Buchalter, A

Professional Corporation and The Powell Firm, LLC and is entitled to reasonable

attorneys’ fees and costs incurred in prosecuting this action.




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                             FIRST CLAIM FOR RELIEF

                         BREACH OF WRITTEN CONTRACT

                               (Against Defendant Thrive)

       35.    Plaintiff incorporates by reference all allegations contained in each preceding

paragraph of the Complaint as if those allegations were fully set forth herein

       36.    On or about July l, 2020, McKesson and Thrive entered into the Product

Supply Agreement pursuant to which McKesson was appointed as Thrive’s prime

distributor and Thrive agreed to have McKesson be its first choice for the purchase of all

products normally purchased through medical-surgical distributors pursuant to the terms

of the Product Supply Agreement.

       37.    Between June 2021 and September 2023, McKesson and Thrive entered into

a series of agreements evidenced by the Invoices whereby McKesson agreed to sell and

Thrive agreed to purchase the Products identified in the Invoices.

       38.    Between June 2021 and September 2023, McKesson shipped the Products to

the Locations or directly to patients’ homes pursuant to the Invoice Agreements.

       39.    The Products were received and accepted and delivered by McKesson in

good condition, without objection and without timely rejection or revocation of acceptance.

       40.    Thrive breached the Invoice Agreements by failing to pay the Invoices for

the Products when due.

       41.    As a proximate result of Thrive’s breach, McKesson has been damaged in

the amount of $5,778,891.25.




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                            SECOND CLAIM FOR RELIEF

                          GOODS SOLD AND DELIVERED

                     (Alternative Claim Against Defendant Thrive)

       42.    Plaintiff incorporates by reference all allegations contained in each preceding

paragraph of the Complaint as if those allegations were fully set forth herein.

       43.    Defendant Thrive became indebted to Plaintiff for goods sold and delivered

to Defendant Thrive, its Locations, or its patients at said Defendant’s or its Locations’

special request, and for which Defendant promised to pay $5,778,891.25.

       44.    The whole of the said sum has not been paid, despite Plaintiff’s demand

therefor and there is now due, owing and unpaid from Thrive to Plaintiff the sum of not

less than $5,778,891.25, together with service charges and interest at the legal rate,

according to proof at time of trial of entry of judgment.

                             THIRD CLAIM FOR RELIEF

                                UNJUST ENRICHMENT

                     (Alternative Claim Against Defendant Thrive)

       45.    Plaintiff incorporates by reference all allegations contained in Paragraphs 1

through 34, inclusive, of the Complaint as if those allegations were set forth herein, with

the exception of any allegation as to the existence of a contract between Thrive and

McKesson.

       46.    This is a count for unjust enrichment.

       47.    Defendant has been unjustly enriched at Plaintiff’s expense.




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       48.    Defendant has been unjustly enriched because Plaintiff sold and delivered to

Defendant, its Locations, or its patients at said Defendant’s or its Locations’ special request

certain Products as shown in the Invoices and Defendant agreed to pay therefore the sum

of $5,778,891.25.

       49.    Defendant knew consideration was being furnished and expenses were being

incurred on its behalf by Plaintiff. Defendant also knew such consideration was being

furnished and such expenses were being incurred by Plaintiff with the expectation of

payment therefore.

       50.    Defendant had knowledge of, accepted, and retained the benefit of the

Products in the sum of $5,778,891.25.

       51.    Defendant’s action, in retaining those certain Products as shown in the

Invoices without payment to Plaintiff constitutes an unjust enrichment to the Defendant

which has accrued to the detriment of the Plaintiff.

       52.    As a direct and proximate result of Defendant’s wrongful acts and omissions

as described herein, Plaintiff has been damaged in an amount to be determined at trial, but

in no case less than $5,778,891.25, plus accrued interest from the date of default.

       53.    There is no justification for this enrichment and impoverishment, and it is

unjust for the law to permit such an enrichment.

       54.    Should Plaintiff fail to prevail on its other claims for relief, there will be no

other remedy at law to redress this unjust enrichment.

       55.    Plaintiff is therefore entitled to recover from Defendant the principal amount

of $5,778,891.25, plus interest accruing at the legal rate until paid in full.

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                           FOURTH CLAIM FOR RELIEF

                                 ACCOUNT STATED

                    (Alternative Claim Against Defendant Thrive)

       56.    Plaintiff incorporates by reference all allegations contained in Paragraphs 1

through 34, inclusive, of the Complaint as if those allegations were set forth herein, with

the exception of any allegation as to the existence of a contract between Thrive and

McKesson.

       57.    Within the last three years, Thrive became indebted to McKesson because an

account was stated in writing by and between Plaintiff and Defendant Thrive wherein it

was agreed that said Defendant was indebted to Plaintiff in the sum of at least

$5,778,891.25 for goods sold and delivered at said Defendant’s or its Locations’ special

insistence and request.

       58.    Thrive directly or through its Locations submitted purchase orders to

McKesson and McKesson issued corresponding Invoices that Thrive directly or through

its Locations received, so Thrive both expressly agreed and impliedly promised to repay

McKesson. McKesson rendered the Invoices and a Statement of Account to Thrive and

Thrive did not object to the Invoices or Statement of Account. Moreover, Thrive, through

its senior executives Ms. Quinby (CFO), Ms. Tinklenberg (COO), Ms. Phillips (President

& CEO), Mr. Stern (a manager and board member of Thrive and managing director at

Summit) and representatives of Thrive’s treasury and accounts payable teams, both in

writing and verbally acknowledged that Thrive was indebted to McKesson in the amount




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demanded herein and represented that the entire sum owed to McKesson would be paid,

but payment was never received.

       59.    The whole of the above sum has not been paid, although demand therefor has

been made. There is now due, owing and unpaid to Plaintiff from Thrive the sum of not

less than $5,778,891.25, together with interest from the due date for each Invoice at the

legal rate according to proof at time of trial or entry of judgment.

                             FIFTH CLAIM FOR RELIEF

                                  QUANTUM MERUIT

                     (Alternative Claim Against Defendant Thrive)

       60.    Plaintiff incorporates by reference all allegations contained in Paragraphs 1

through 34 above, as if those allegations were set forth herein, with the exception of any

allegation as to the existence of a contract between Thrive and McKesson.

       61.    Between June 2021 and September 2023, McKesson conferred a benefit on

Thrive by delivering the Products to the Locations or directly to the homes of Thrive’s

patients.

       62.    Thrive knew that McKesson conferred a benefit on Thrive by delivering the

Products.

       63.    In fact, delivery of McKesson’s Products were accepted without objection,

and without revocation of acceptance. Further, on information and belief, the Products

delivered by McKesson were used in Thrive’s or its Locations’ continuing business.




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       64.    Under these circumstances, it would be inequitable and unfair if Thrive was

not required to pay the fair and reasonable value for the Products, which at the time of sale

was at least $5,778,891.25.

       65.    The total reasonable value of the wrongfully retained Products is not less

than $5,778,891.25, which reflects the amounts charged by McKesson for the Products that

Thrive or its Locations retained without making payment.

                                PRAYER FOR RELIEF

       WHEREFORE, McKesson prays for judgment against Defendants as follows:

       On the First Claim for Relief:

       1.     For the sum of $5,778,891.25, together with interest and other fees and

charges pursuant to the Invoice Agreements, according to proof at time of trial or entry of

judgment;

       2.     For reasonable attorneys’ fees and expenses;

       On the Second, Third, Fourth and Fifth Claims for Relief:

       3.     For the sum of $5,778,891.25, together with interest at the legal rate

according to proof at time of trial or entry of judgment;

       On All Claims for Relief:

       4.     For costs of suit herein incurred; and

       5.     For such other and further legal and equitable relief, including pre-judgment

and post-judgment interest, as the Court may deem just and proper.




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DATED: April 25, 2024             Respectfully submitted,

                                   THE POWELL FIRM, LLC

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